       Case 1:19-cv-05609-SCJ Document 2 Filed 12/13/19 Page 1 of 79 County Superior Court
                                                                Fulton
                                                                              ***EFILED***MH
                                                                     Date: 12/3/2019 10:46 AM
                                                                     Cathelene Robinson, Clerk

                IN THE SUPERIOR COURT OF FULTON COUNTY
                           STATE OF GEORGIA

JAVIER R BENAVIDES                )
                                  )
      Plaintiff,                  )
                                  )
v.                                )               CIVIL ACTION
                                  )
GEORGIA PUBLIC DEFENDER           )               FILE No 2019CV326240
COUNCIL, an official board        )
of the State of Georgia;          )
CHARLES BROWN, individually and   )
in his official capacity          )
WILLIAM MAXWELL, individually and )
in his official capacities        )
PENNY HUNTER, individually and    )
In her official capacities        )
AMY ALLEN, individually and       )
In her official capacities        )
TYLER TURNER, individually and    )
In his official capacities        )
JANET ASH, individually and in    )
her official capacities           )
                                  )
      Defendants.                 )
________________________________ )

                     VERIFIED PLAINITIFF’S FIRST AMENDMENT
                        COMPLAINT AND ADDITIONAL COUNTS

     COMES NOW JAVIER R BENAVIDES (Plaintiff) and hereby pursuant to

O.C.G.A 9-11-15(a), files timely this Verified Plaintiff’s First Amendment

Complaint and Additional Counts and respectfully indicates to this

Honorable Court the following:

                                  I.    PARTIES

                                       1.

     Plaintiff is a citizen of the State of Georgia domiciled at 1399

Brookmere Way, Cumming Georgia 30040.

                                       2.
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     Defendant, the Georgia Public Defender Council, (Council), is a

State Council composed of 15 members and created pursuant to O.C.G.A. §

17-12-3.

                                          3.

     For purposes of the Civil Rights Act, the Council is an employer

who has more than 15 employees for each working day in each of twenty or

more calendar weeks in the current or preceding calendar year. Therefore,

this Court has jurisdiction over this matter.

                                          4.

     Pursuant to O.C.G.A § 45-1-4(a)(1), the Council is an agency for

purposes of the Georgia Whistleblower Act.

                                     5.

     The Council may be served with this Additional Counts and Amendment

at its Central Office located at 104 Marietta St. NW No. 400, Atlanta,

Georgia 30303.

                                     6.

     Charles Brown is an individual serving the Enotah Judicial Circuit

as Public Defender for the Georgia Public Defender Council.   Brown may be

served personally with process at 59 South Main Street, Suite C,

Cleveland, Georgia 30528.

                                          7.

     Penny Hunter is an individual serving the Enotah Judicial Circuit as

an Assistant Public Defender for the Georgia Public Defender Council.

Hunter may be served personally with process at 59 South Main Street,

Suite C, Cleveland, Georgia 30528.

                                     8.




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     William Maxwell is an individual serving the Enotah Judicial

Circuit as an Assistant Public Defender for the Georgia Public

Defender Council.   Maxwell may be served personally with process at 59

South Main Street, Suite C, Cleveland, Georgia 30528.

                                     9.

     Amy Allen is an individual serving the Enotah Judicial Circuit

as an Assistant Public Defender for the Georgia Public Defender

Council.   Allen may be served personally with process at 59 South Main

Street, Suite C, Cleveland, Georgia 30528.

                                 10.

     Tyler Turner is an individual serving the Enotah Judicial

Circuit as an Investigator for the Georgia Public Defender Council.

Turner may be served personally with process at 59 South Main Street,

Suite C, Cleveland, Georgia 30528.

                                 11.

     Janet Ash is an individual serving the Enotah Judicial Circuit

as administrative employee for the Georgia Public Defender Council.

Ash may be served personally with process at 59 South Main Street,

Suite C, Cleveland, Georgia 30528.

                          II.   CONDITION PRECEDENT

                                 12.

     To bring a claim under Title VII, plaintiffs must first exhaust

the administrative remedies available to him by filing a charge of

discrimination within 180 days of the alleged discrimination.    42

U.S.C. § 2000e-5(e)(1).

                                 13.




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     Moreover, a party asserting a claim under Title VII may do so

within 90 days after receiving a notice of right to sue on the claim

from the Equal Employment Opportunity Commission (EEOC). U.S.C. §

2000e-5(f)(1).

                                   14.

     Plaintiff filed a complaint with the EEOC on August 7, 2019,

alleging that Plaintiff was discriminated from May 17, 2019 until August

1, 2019.   Therefore, the complaint with the EEOC was filed within 180 days

of any act of discrimination under Title VII.

                                     15.

     On September 25, 2019, the EEOC mailed to Plaintiff a Notice of Suit

Rights, stating that Plaintiff’s lawsuit must be filed within 90 days of

the reception of same.   Therefore, Plaintiff files the present lawsuit

timely. (Exhibit A).

                         III.   JURISDICTION AND VENUE

                                  16.

     Pursuant O.C.G.A. § 45-1-4(e)(1), superior courts have jurisdiction

to enforce compliance with the Georgia Whistleblower Act.

                                  17.

     Plaintiffs are not required to file an ante litem notice to the

Council under the Whistleblower Act, because the plain language of the

Statute “demonstrates that applies only to damages, caused by negligence,

not intentional acts such as retaliation.” West v. City of Albany, 300 Ga.

743, 747 (2017).

                                     18.

     Superior courts have jurisdiction in all cases except as otherwise

provided in the Constitution. GA. CONST. art. VI § IV para., I.



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                                     19.

     This Court has jurisdiction over claims brought under 42 U.S.C.

Title VII, because the Supremacy Clause of the United States Constitution

provides state courts of concurrent jurisdiction for claims under federal

law, and a state may not discriminate citizen’s rights under federal laws.

Collins v. Dep’t of Transp., 208 Ga. App. 53, 55, 56 (1993).

                                     20.

     Venue is proper in the county where a defendant resides against who

substantial relief is prayed.     GA. CONST. art. VI § II para., III.

                                  II.      FACTS

                                     21.

     The Council has an office in the Enotah Judicial Circuit (Office) in

which Mr. Charles Brown (Brown) acts as the Chief Public Defender.      The

Office has three Offices, one in White County, one in Lumpkin County and

another in Union County.

                                     22.

     The Office in White County has four attorneys serving Lumpkin and

White counties, Mr. William Maxwell, (Maxwell), Ms. Penny Hunter,

(Hunter), Ms. Amy Allen, (Allen) and Brown.

                                     23.

     During Plaintiff’s employment, the Offices in White and Lumpkin

Counties had three administrative employees, Jackie Williams (Williams),

Janet Ash (Ash) and Tammy Belback (Belback); and, one investigator Mr.

Tyler Turner (Turner).     Belback works more often at the satellite Office

located in Lumpkin County, but occasionally collaborates in White County.

                                     24.




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     During Plaintiff’s employment, the Offices in Union and Towns

Counties had two attorneys, Ms. Jodi Spiegel (Spiegel) and Ms. Katherine

Robinson (Robinson). Spiegel acted as the Deputy Chief for the Office.

                                  25.

     Plaintiff is a 48-year-old man, Hispanic, Latino, and naturalized

United States citizen, originally from Lima, Peru.

                                  26.

     In December 2018, Plaintiff graduated with a Juris Doctor degree at

Florida State University (FSU).

                                  27.

     Plaintiff is a foreign attorney holding an active license to

practice law in the Republic of Peru (Peru).

                                  28.

     On February 25 and 26, 2019, Plaintiff took the Georgia Bar Exam.

The Exam’s results were published on May 17, 2019.

                                  29.

     Around the last week of April, Brown interviewed Plaintiff for the

position Assistant Public Defender I at the Office.   During the interview,

Plaintiff indicated to Brown that Plaintiff had taken the February 2019

and that the results will be published on May 17, 2019.

                                  30.

     On May 16, 2019, Plaintiff was employed by Mr. Charles Brown,

(Brown), Chief Public Defender for the Council in the Enotah Judicial

Circuit Office with the purpose to work as an attorney in charge of the

juvenile cases.

                                  31.




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     Since Plaintiff did not possess yet a license to practice law, Brown

hired Plaintiff as Paralegal 4.   (Exhibit B).

                                   32.

     On May 17, 2019, at approximately 11:00 am, Plaintiff was informed

by the Georgia Bar of Admissions that Plaintiff had not passed the exam.

Plaintiff notified Brown of his failure to pass the bar within two hours

of receiving notification of his failure.

                                   33.

     Brown is a government official who enjoys qualified immunity and

only attorney with authority to supervise, hire, terminate and receive

complaints against employees at the Office.

                                   34.

     On May 17, after acquiring knowledge of Plaintiff’s failure to pass

the bar, Brown ratified Plaintiff’s employment and assigned Plaintiff Mr.

John Deacon’s (Deacon) former cases. (Exhibit C).

                                   35.

     On or around May 22, 2019, after consulting with the Council’s

office in Atlanta, Brown ratified Plaintiff’s employment.   As per Brown’s

indications, in the interim, Plaintiff would be trained and remained

employed as a Paralegal 4. Plaintiff’s employment was conditioned upon

passing the July 2019 Georgia Bar. (Exhibit C).

                                   36.

     On October 25, 2019, Plaintiff met Brown’s condition necessary to

preserve his employment with the Council by passing the Georgia Bar Exam.

(Exhibit D).

                                   37.




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     As per Brown’s instructions, Plaintiff’s workload would consist on

working John Deacon’s former cases fully.   The court appearances relative

to same will be conducted by staff attorneys.   (Exhibit C).

                                   38.

     Maxwell and Allen positions are Assistant Public Defender I; Hunter

is Assistant Public Defender III and Brown is a Chief Public Defender.

                                   39.

     The employees working at the White County Office, Ash, Williams,

Brown, Maxwell, Hunter and Allen are Caucasians.

                                   40.

     A public record request to the Council shows that, during

Plaintiff’s employment, a male Caucasian by the name Thayer James Kolbo

was employed by the Council as Paralegal 4. (Exhibit E).

                                   41.

     During Plaintiff’s employment, Robert Leone, a Caucasian, third-year

law student, served an internship at the Office.

                                   42.

     Until May 20, Maxwell, Hunter, Allen and Plaintiff had similar

amount of workload. (Exhibit C).

                                   43.

     On or around May 20, Hunter distributed Plaintiff’s cases among

Maxwell, Allen and herself, which resulted in no workload for Plaintiff.

                                   44.

     On or around May 27, Dawson came to the White County Office.      During

a conversation with Turner and Plaintiff, Dawson ordered Turner to have

Plaintiff interview potential clients at the jail.

                                   45.



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     On or around June 5, Plaintiff asked Brown whether he had changed

Plaintiff’s workload, but Brown confirmed that he had not made any

changes.

                                     46.

     On or about June 11, Plaintiff informed Brown about his concerns

regarding seclusion and discrimination.    Brown, according to Plaintiff

perception, reacted annoyed and ratified Hunter’s distribution of

Plaintiff’s cases.

                                     47.

     As a result of the June 11 conversation, Plaintiff’s workload was

reduced to accompanying Brown to juvenile court.   Plaintiff was not even

required to prepare for juvenile court cases because, according to Brown,

juvenile court is a waste of time.

                                     48.

     During Plaintiff’s employment with the Council, Plaintiff opposed

persistently his lack of assignments by requesting projects, research,

assignments from Brown, Maxwell, Hunter, Turner and Allen to no avail.

                                     49.

     During Plaintiff’s employment, Brown, Maxwell, Hunter, Turner and

Allen conspired and discriminated Plaintiff based on his national origin

and/or his race.

                                     50.

     On or around June 19, Dawson came back to the White County Office.

Upon realizing that Turner had not trained nor provided assignments to

Plaintiff, Dawson asked Turner to train Plaintiff once again.

                                     51.




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     On or around June 20, Plaintiff requested Brown a leave of absence

to study for the Georgia Bar exam.     Brown stated that Plaintiff could take

time off in July so long same would not interfere with Independence Day or

the attorney’s trip to Savannah, Georgia.

                                     52.

     As of the day of Plaintiff’s termination, Turner had taken Plaintiff

to jails only once, refused to provide any directives on how to determine

who to interview and allowed Plaintiff to interview prospective clients

only once.

                                     53.

     On or about June 24, Plaintiff drove at his own expense to the Union

Office to meet Robinson.     Plaintiff also met Spiegel.   Plaintiff performed

some research for both attorneys to their satisfaction. Plaintiff

complaint several times with Robinson about his segregation, seclusion and

discrimination at the Office.

                                     54.

     During the June 24 visit, Spiegel requested Plaintiff to conduct a

research for a murder case, State v. Pate.    Spiegel wanted to know what

specific acts of bad conduct by a murder’s victim can be brought as

evidence in a murder case.    This project was the only assignment in which

Plaintiff worked during his employment.

                                     55.

     On or about July 9, 2019 at around 11:45 am, Plaintiff asked Brown

to talk about his research on the Pate case.     Plaintiff wanted to ensure

Plaintiff’s conclusion by consulting to a senior attorney.      Plaintiff’s

conclusion was that specific acts of bad acts by a victim of murder could

be introduced only as Defendant’s knowledge.



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                                     56.

     After reading documents brought by Plaintiff regarding specific bad

acts by a victim of murder, Brown, without discussing Plaintiff’s legal

analysis, requested Plaintiff for the specific acts that would be

introduced.    Plaintiff responded: “I don’t know, I’m just working on the

legal research.”    Since the answer was not of Brown’s satisfaction, Brown

continued asking several times, louder and louder: What are you trying to

prove?

                                     57.

     After asking several times regarding the specific acts that would be

introduced and noticeably frustrated with Plaintiff, Brown stood up

holding a letter opener while screaming: “who the fuck cares what you are

thinking you just kill the son of a bitch.”

                                     58.

     Brown willfully, maliciously, or with the intent to harm Plaintiff,

placed Plaintiff in reasonable state of apprehension by making rapid

vertical movements while holding the dull knife above his head down to his

waistline.    Plaintiff was afraid that Brown would lose his grip of the

dull of knife or that Brown would throw the dull knife at Plaintiff.

                                     59.

     Prior to the altercation of July 9th, 2019, Plaintiff had personal

knowledge that radiation and chemotherapy treatment had caused Brown to

lose sensitivity in his fingertips.

                                     60.

     According to Brown’s Memorandum, Brown’s state of mind during the

incident was angry and upset.    (Exhibit C).

                                     61.



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     During Brown’s attack the pointy part of the dull knife was facing

Plaintiff.    About 2 or 3 inches of the dull knife were sticking out of

Brown’s closed fist.

                                     62.

     The dull knife is a letter envelope, about 8 to 10 inches long of a

silver color.

                                     63.

     After communicating to Brown of feeling uncomfortable with Brown’s

actions, Plaintiff retreated back to his Office in fear for his well-

being.

                                     64.

     Brown, after yelling Plaintiff’s name for or around three minutes

and realizing that Plaintiff was not coming back, Brown, maliciously,

willfully or with the intent to harm Plaintiff, stormed into Plaintiff’s

Office while using profanity in complete disarray.     Brown’s tumultuous

entry into Plaintiff’s office placed Plaintiff in reasonable state of

apprehension.

                                     65.

     Once in the Office, Brown, while standing a few inches away from

Plaintiff, repeatedly said, completely out of control and yelling louder

and louder: What are you trying to prove? What are you trying to prove?

                                     66.

     Plaintiff said: “I do not know what Jodi wants to bring in.”

Nonetheless, Plaintiff’s attempts to calm Brown down were not of Brown’s

satisfaction.    Thus, Brown continued screaming louder and louder as

Brown’s frustration grew more and more.

                                     67.



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     Brown maliciously, willfully or with the intent to harm Plaintiff,

continued yelling and hitting Plaintiff’s desk, saying: “This is not going

to work, I am the boss here and nobody… nobody walks out of my Office.” “I

am the boss here and no one is above me.”     Brown’s yelling and hitting

furniture placed Plaintiff in reasonable state of apprehension.

                                   68.

     After the incident, Plaintiff told Janet Ash and Jackie Williams

that Brown’s actions impact directly the efficiency of the Office since

they create a negative and hostile environment. Ash attempted to excuse

Brown’s actions indicating that Brown’s actions were not personal.

Plaintiff responded: “What can be more personal than being attacked?”

                                   69.

     About 10 minutes after, Plaintiff communicated with his wife,

Christine Benavides, Plaintiff’s desire to press charges right away, but

wife told Plaintiff to not file a formal charge right away because: (a)

Plaintiff need to take the Georgia Bar in less than 15 days; and, (b)

Plaintiff may be discharged in retaliation.

                                   70.

     A public record request resulted in no responsive records of

disciplinary action against Plaintiff for insubordination or violation of

the Council’s employee’s policies, as a result of the July 9th incident.

                                   71.

     Ash is Brown’s former sister in law.     Ash is related to two of

Brown’s children, Ash is the Office Manager at the White County Office and

Brown’s confidant and assistant.   (Exhibit D).

                                   72.




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     On July 10, 2019, Brown asked Plaintiff to come over to his Office.

Brown apologized for his actions briefly and Plaintiff expressed to Brown

his desire to report his conduct.   (Exhibit C).

                                    73.

     After that comment, Brown repeated, as Brown did in Plaintiff’s

Office, in a menacing tone, “no one is above me, if you disrespect me once

again, you should consider not returning ever again.”   (Exhibit C).

                                    74.

     Plaintiff understood those two expressions as a threat in case

Plaintiff would pursue any legal action.

                                    75.

     A few minutes later, Plaintiff asked Ash for Human Resources phone

number and contact, as well as the name of Brown’s supervisor, but Ash

failed to answer the questions. In fact, Plaintiff learned that Ms.

Jimmonique Rodgers was Brown’s supervisor after being terminated.

                                    76.

     On July 12, Plaintiff communicated Todd Dawson about the incident

with Brown.   Tyler Turner was present.

                                    77.

     In the morning of July 12, Plaintiff told Allen about the incident.

Williams was in the conversation.   Allen seemed to be empathic with

Plaintiff’s situation.

                                    78.

     Around 11:00 am, Brown went to the courtroom to inform the employees

who were observing a hearing that, Brown had been diagnosed with cancer.

Furthermore, Brown indicated that Brown’s condition was extremely serious.

Brown exited the courtroom for the emergency room in tears.



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                                   79.

     Under the assumption that Brown was temporarily on a medical leave

of absence, Plaintiff asked Dawson about Plaintiff’s leave of absence to

study for the Georgia Bar.   Dawson indicated Plaintiff to ask Spiegel.

                                   80.

     Spiegel authorized Plaintiff’s leave of absence.    Nonetheless,

Plaintiff sent an email to Ash to ensure that Spiegel had the authority to

grant the leave.   Ash indicated that Spiegel had not authority and that

Brown was still in charge. Therefore, the leave of absence had not been

granted. (Exhibit I).

                                   81.

     According to Brown’s Memorandum of August 1st, Brown was diagnosed

with cancer on July 12th, 2019.   (Exhibit C).

                                   82.

     Due to not having a phone number to call nor contact, Plaintiff

called the Council’s headquarters to no avail because no one answers the

phone nor there is an option to communicate with someone in Human

Resources.

                                   83.

     On July 15, Plaintiff considered filing a criminal case with the

White County Sheriff’s Office, but Plaintiff needed to retake the Georgia

Bar on July 30 and 31.   Thus, Plaintiff decided to file charges at his

return on August 1, 2019.

                                   84.

     On August 1, 2019, upon returning for his leave, Brown, willfully,

maliciously, or with the intent to harm, terminated Plaintiff’s




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employment.    (Exhibit F).   During the conversation, Plaintiff told Brown

that he was discharged in retaliation.

                                     85.

     In a Memorandum hand delivered to Plaintiff, Brown states that the

termination was due to: (a) his failure to pass the bar; (b) conduct that

led to Plaintiff’s requesting a leave of absence; and (c) failure to

“apparently” address a legal research.     Brown also indicates in the

document that the hiring of Plaintiff did not relief the attorney’s

workload.   (Exhibit C).

                                     86.

     However, Plaintiff’s workload was assigned and/or delegated to him

on May 17, after Brown found out about Plaintiff’s failure to pass the bar

(Exhibit C); (b) Brown authorized personally Plaintiff’s leave of absence

on July 16 (Exhibit G); (c) Plaintiff was numerous times congratulated for

the great research he performed by the attorney in charge of the case,

Jodi Spiegel, for whom the research was made (Exhibit H); and, (d) for the

most part, Plaintiff was the first one to arrive and last one to leave and

he had requested numerous times to Maxwell, Allen, Hunter and Brown for

work to no avail.

                                     87.

     On August 1, 2019, Plaintiff called Ms. Melanie Johnson-Devlin

(Johnson) to inform her of his unlawful termination in retaliation for

being assaulted by Mr. Brown.    During the conversation, Plaintiff

indicated to Johnson that Plaintiff was discharged unlawfully in

retaliation.

                                     88.




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     Ms. Johnson-Devlin asked Plaintiff to gather all documents and

information to prove his allegations.       However, while Plaintiff was in the

process of gathering the information and documents, Ms. Johnson-Devlin

sent an email to Plaintiff stating that Mr. Brown had authority to hire

and terminate employee’s employment at the Enotah Judicial Circuit Office.

(Exhibit I).

                                      89.

     After receiving Ms. Johnson-Devlin’s email supporting Brown’s

decision, Plaintiff sent a new email asking whether that was the Council’s

last decision.     The email was never responded and therefore interpreted by

Plaintiff as a ratification of Brown’s unlawful termination.

                                     COUNT I
                             VIOLATION OF TITLE VII,
                          NATIONAL ORIGIN DISCRIMINATION

                                      90.

     This cause of action is against the Council under 42 U.S.C.S §

2000e-2(a)(1), and Brown under 42 U.S.C.S § 1983 in his official and

individual capacities for discriminating against Plaintiff because of his

national origin.     As well as against, Hunter, Maxwell, Allen and Turner

for conspiring against Plaintiff.

                                   91.

     Paragraphs 1 through 89 are re-alleged as if set forth verbatim

herein.

                                   92.

     Pursuant to Title VII of 42 U.S.C.S § 2000e-2(a)(1), employers are

prohibited from making employment or personnel decisions, affecting the

terms, conditions and privileges of an individual based upon his or her

national origin.



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                                 93.

     Plaintiff is a male Hispanic of Peruvian origin whom possesses the

requisite qualifications and skills to be retained as an employee of the

Council.    Plaintiff holds a Juris Doctor, pass the July 2019 bar, speaks

Spanish and he is a foreign attorney.

                                 94.

     On May 16, 2019, Brown assigned to Plaintiff a similar workload than

attorneys: Hunter, Maxwell and Allen.     Plaintiff was hired to work as an

attorney.   As per Brown’s instructions, Plaintiff would be trained by

staff attorneys and work John Deacon’s former cases.    Plaintiff

assignment, according to Brown was to work the cases fully.     The court

appearances would be made by staff attorneys.

                                    95.

     On May 17, Plaintiff workload was arbitrarily distributed among

Hunter, Maxwell and Allen.   As consequence of this action, Plaintiff’s

workload was reduced to serving as companion of Brown in juvenile court.

The reduction of Plaintiff’s workload amounted to a constructive

suspension.

                                    96.

     During Plaintiff’s employment, co-workers: Hunter, Maxwell, Allen

and Turner, isolated Plaintiff, kept him from performing any productive

conduct and refused to provide Plaintiff any assignments.

                                    97.

     For purposes to determine a similarly situated employee, Plaintiff

pleads that Plaintiff was similarly situated as: (a) the staff attorneys

because Brown had established similar workload to Plaintiff or the purpose

of Plaintiff’s employment was to train to work as an attorney; (b) Robert



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Leone, a Caucasian third year law student, because Hunter and Maxwell

provided assignments to Leone and not to Plaintiff; and, (c) Thayer James

Kolbo, a Caucasian male working as Paralegal 4 for the Council.

                                      98.

     On June 11, 2019, Plaintiff opposed the discrimination by making an

oral complaint against co-workers: Maxwell, Allen, Hunter and Turner.

Plaintiff spoke to Brown about his situation, but Brown, contrary of

providing a work environment free of discrimination, ratified Hunter’s

decision to remove all Plaintiff’s workload.

                                      99.

     Since Plaintiff’s discharge, Plaintiff has been suffering of great

and irreparable damages.

                                      100.

     Plaintiff’s damages are the direct and proximate result of Brown,

Hunter, Maxwell, Allen and Turner’s unlawful acts.

                                    COUNT II
                      RETALIATION FOR OPPOSING AN UNLAWFUL
                            PRACTICE UNDER TITLE VII

                                   101.

     This charge is against the Council under 42 U.S.C.S § 2000e-3(a) and

Brown under 42 U.S.C.S § 1983 in his individual and official capacities

for unlawfully removing any and all Plaintiff’s workload in retaliation

for asserting his right to be free of discrimination, seclusion and

segregation based on his national origin.

                                      102.

     Paragraphs 1 through 100 are re-alleged as if set forth verbatim

herein.

                                      103.



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     Pursuant to 42 U.S.C.S § 2000e-3(a), an employer is prohibited to

discriminate against any of its employees… because the employee has

opposed any practice made unlawful by this subchapter.

                                    104.

     A plaintiff may establish a claim of unlawful retaliation by using

either direct or circumstantial evidence. Wright v. Southland Corp., 187

F.3d 1287, 1292-93 (11th Cir. 1999).

                                    105.

     Under McDonnell Douglas Corp. Test, test for circumstantial

evidence, plaintiffs must preliminarily establish a prima facie case of

retaliation.    Holifield v. Reno, 115 F.3d 1555, 1556 (11th Cir. 1997).

                                    106.

     To establish a prima facie case, the Plaintiff must show (1) that

[he] engaged in statutorily protected activity, (2) that [he] suffered an

adverse employment action, and (3) that the adverse employment action is

casually related to the protected activity.” Cooper v. S. Co., 390 F.3d

695, 740 (11th Cir. 2004).

                                    107.

     Retaliation protects employees from disclosing materially adverse

acts that affect the terms and conditions of their employment Burlington

Northern & Santa Fe R. Co. v. White, 548 U.S. 53, 67 (2006).

A. PLAINTIFF ENGAGED IN PROTECTED ACTIVITY:

                                    108.

     Protected activity under Title VII falls under the participation or

opposition clause.” EEOC v. Total Sys., Inc., 221 F.3d 1171, 1174 (11th

Cir. 2000).    While the participation clause requires filing a formal

complaint with the EEOC, the opposition clause protects employees for



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opposing, within the ordinary business environment, any practice made

unlawful by Title VII.   Id. at 1176.

                                    109.

     During Plaintiff’s employment, Plaintiff opposed repeatedly his

seclusion and segregation during the ordinary course of business with

Brown, Williams, Hunter, Allen, Maxwell and Ash to no avail.

                                    110.

     During Plaintiff’s employment, Plaintiff repeatedly indicated to

Williams and Robinson that Plaintiff lacked workload and Plaintiff was

kept from performing.

                                    111.

     To be protected under the statute, the employee must show that: (a)

he subjectively believed that he was being discriminated; and, (b) that

his belief was objectively reasonable in light of the facts and record

presented.    Id.

                                    112.

     On June 11, 2019, Plaintiff engaged in statutorily protected

activity when he spoke with his Supervisor, Brown, regarding his

legitimate concerns of seclusion, segregation and discrimination and lack

of workload due to his national origin.

                                    113.

     The conversation constitutes protected activity because Brown was

Plaintiff’s supervisor and he ratified Hunter’s decision to seclude,

segregate and discriminate Plaintiff by officially removing all his

workload.    Reasonable minds could argue that this constituted an unlawful

act of discrimination reasonably linked to Plaintiff’s national origin.

                                    114.



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     Brown incurred in seclusion, segregation and discrimination of

Plaintiff.   Reasonable minds could argue that Brown discriminated against

Plaintiff to avoid forcing the staff attorneys to stop the seclusion,

segregation and discrimination against Plaintiff.     This discrimination

could be reasonably linked to Plaintiff’s national origin.

                                   115.

     After three weeks of not being able to work and kept from

participating in any work-related activities, Plaintiff had the sincere

believe that he was segregated, secluded and discriminated, because of his

national origin.   His seclusion and segregation amounted objectively to

the level of a suspension.

B. PLAINTIFF SUFFERED AN ADVERSE EMPLOYMENT ACTION:

                                   116.

     For retaliation, courts have repeatedly held that the “materially

adverse” for Title VII cases is “distinct and different” from the “serious

and material change in terms, conditions or privileges of employment”

standard applied to Title VII substantive discrimination claims.     Crawford

v. Carroll, 529 F.3d 961, 974 (III)(A) n. 14 (11th Cir. 2008).

                                   117.

     The materially adverse test has been defined as more liberal test

for adverse employment action.   Id. at 974.

                                   118.

     To meet this requirement, the plaintiff must show that: (a) the

adverse employment action was significant rather than trivial.     Burlington

548 U.S. 53, 67.   And, that “there is a genuine issue of material fact as

to whether his employer acted with … retaliatory intent in his

termination.” Mathis v. Leggett & Platt, 2008 WL 124512, 2 (11th Cir.



                                   22
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2008) citing Hawkins v. Ceco Corp., 883, F.2d 977, 980-81 (11th Cir.

1989).

  1. SIGNIFICANCE OF THE ADVERSE EMPLOYMENT ACTION:

                                     119.

     To be considered materially adverse, the pleaded acts must be: (a)

significant enough to separate them from trivial harms such as, for

example, petty slights, minor annoyances and lack of good manners in the

workplace.    Burlington, 548 U.S. 53 at 68.   And, (b) these acts need to

raise to a level that would have dissuaded a reasonable employee from

making a disclosure.    Cobb v. City of Roswell, 533 Fed. Appx. 888, 896

(11th Cir. 2013).

                                     120.

     On or around June 11, 2019, Plaintiff suffered a significantly

material adverse employment action, when Brown ratified Hunter’s decision

to keep Plaintiff with no workload and by tolerating his seclusion,

segregation and discrimination.    The change on the conditions of

employment was so significant that amounted to a constructive suspension.

                                     121.

     This event exceeds the liberal test established by the Supreme Court

in Burlington, because it amounted to a constructive suspension.     Brown

being the supervisor in charge had the power to ratify Hunter’s decision

to remove Plaintiff’s workload.

                                     122.

     Additionally, Brown personally violated the law, because he

participated himself on the unlawful segregation, seclusion and

discrimination by refusing to provide Plaintiff any assignments,

notwithstanding Plaintiff’s numerous requests for work.



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                                   123.

     Moreover, as in Burlington, these ratifications of segregation,

seclusion and discrimination by Brown resulted in retaliation of the kind

that keeps the employee from seeking further action.    Once Brown adopts a

decision no one can refute his opinion because he gets verbally abusive

and starts hitting furniture with his fist, when he does not get his way.

Reasonable minds could argue that not being heard by Brown would deter a

reasonable person from seeking further action.

                                   124.

     This is more reasonable in an at-will state like Georgia in which an

employee can be discharged for reason, no reason or even a bad reason so

long it does not contravene the law.    Plaintiff as a head of a household

needed to keep his job to provide for his family.   Therefore, it was

reasonable for Plaintiff to prepare a well-supported case to avoid being

retaliated against by Brown, instead of pressing for work assignments.

  2. EVIDENCE OF RETALIATORY INTENT:

                                   125.

     Unlawful discrimination pursuant to Title VII does not require to be

invidious but to be related to a person’s national origin.    42 U.S.C. §

2000e2(a)(1).   Therefore, discrimination based on national origin is

unlawful even is motivated by pure convenience or lack of interest.

                                   126.

     Reasonable minds could argue that Brown ratified Plaintiff’s

suspension from any activity because Brown did not want to inconvenient

himself with the group once Brown realized that the staff had made the

decision to relegate Plaintiff.

                                   127.



                                   24
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     This is a fair inference of Brown’s annoyance when he was faced with

the Plaintiff’s reasonable concerns regarding being segregated, secluded

and discriminated at work and kept from a fair opportunity to perform.

C. THE ADVERSE EMPLOYMENT ACTION IS CAUSED BY THE PROTECTED ACTIVITY:

                                   128.

     A Plaintiff may meet his burden by showing a short period of time

between the protected activity and the termination.   This would prove that

the two are not wholly unrelated. Shannon v. Bellsouth Telecoms. Inc., 292

F.3d 712, 717 (11th Cir. 2002).

                                   129.

     Nonetheless, the language used in a termination letter, standing

alone, may support the causal link between the protected expression and

the termination.   O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th

Cir. 2008).

                                   130.

     A fair inference of the Memorandum dated on August 1, 2019 tells us

that, according to Brown, Plaintiff was discharged for not providing any

aid to staff attorneys.

                                   131.

     However, this very fact could be reasonably caused by Brown and the

staff attorneys themselves.   Reasonable minds could argue that Plaintiff’s

segregation, seclusion and discrimination resulted in his lack of

performance necessary to justify his employment.

                                   132.

     For purposes to determine a similarly situated employee, Plaintiff

pleads that Plaintiff was similarly situated as: (a) the staff attorneys,

because Brown had established similar workload to Plaintiff or because the



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purpose of Plaintiff’s employment was to train to work as an attorney; (b)

Robert Leone, a Caucasian third year law student, because Hunter indicated

to Plaintiff that his employment was equivalent to an internship; and, (c)

James Kolbo, a Caucasian male working as Paralegal 4 for the Council.

                                  133.

     Therefore, Brown cannot allege on one hand that Plaintiff did not

perform up to the standards while on the other hand Brown kept Plaintiff

from having a fair opportunity to perform.

                                  134.

     Furthermore, the document does not address Plaintiff’s many requests

for work to Maxwell, Hunter, Allen and Brown himself which constitute a

persistent opposition to being secluded, segregated and discriminated.

                                  135.

     Reasonable minds could argue that Brown made the decision to keep

Plaintiff with no workload and keep him from working once Brown realized

that Plaintiff was not accepted by the staff attorneys.   Lack of

performance would give Brown a pretext to discharge Plaintiff without

raising suspicions.

                                COUNT III
          RETALIATION FOR REPORTING DISCRIMINATION IN VIOLATION
                   OF THE GEORGIA WHISTLEBLOWER ACT

                                  136.

  This charge is against the Council and Brown in his official and

individual capacities for removing Plaintiff’s workload in retaliation for

reporting segregation, seclusion and discrimination.

                                  137.

  Paragraphs 1 through 135 are re-alleged as if set forth verbatim

herein.



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                                    138.

  For purposes of the Whistleblower Act, a supervisor is the person with

authority to direct and control public employee’s work performance; to

take corrective action; and, to receive complaints against public

employees.   O.C.G.A § 45-1-4(a)(6).

                                    139.

     The Georgia Whistleblower Act precludes public employers from

retaliating against their employees for “disclosing a violation of or

noncompliance with a law, rule, or regulation to either a supervisor or a

government agency; or, for objecting any activity that the public employee

has reasonable cause to believe that is in violation of or noncompliance

with a law, rule, or regulation.”   O.C.G.A §.45-1-4(a)(5).

                                    140.

     The prohibition before mentioned includes the suspension or any

adverse employment action taken by the public employer against a public

employee in the terms or conditions of employment for disclosing a

violation or noncompliance with a law, rule, or regulation.   O.C.G.A. §

45-1-4(d)(2) and (3).

                                    141.

     Brown is the sole supervisor at the Office with authority to hire

and terminate public employee’s employment, direct and control employee’s

work performance, take corrective action and receive complaints against

public employees.

                                    142.

     Plaintiff’s employment was terminated on August 1, 2019.

A. PRELIMINARY SHOWING FOR WHISTLEBLOWER CLAIMS:

                                    143.



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     Plaintiffs must show the following: (1) the public employee was

employed by a public employer; (2) the public employee made a protected

disclosure or objection; (3) the public employee suffered and adverse

employment action; and, (4) there is some causal link between the

protected activity and the adverse employment action.   Murray-Obertein v.

Ga. Govt. Transparency and Campaign Finance Comm., 344 Ga. App. 677, 680-

81 (2018).

                                     144.

     Plaintiff alleges the following: (1) he was employed by the Council

on May 16, 2019 and terminated on August 1, 2019; (2) on June 11, 2019,

Plaintiff engaged in protected activity when he complained about

discrimination, seclusion and segregation with Brown; (3) Plaintiff lost

his workload as a result of his disclosure with Brown; (4) reasonable

minds could infer that Brown retaliated against Plaintiff for his national

origin because: (a) Brown did not want to inconvenient his relationship

with other employees, (b) it was convenient for Brown to let things be the

way they were; (c) Brown did not want to investigate Plaintiff’s claims

further; or, (d) Brown has a difficult time hiring and keeping attorneys

since he took over the Office.

B. MCDONNELL DOUGLAS TEST SHOWING:

                                     145.

     Courts in Georgia apply the McDonnell Douglas Test for claims

brought under the Georgia Whistleblower Act.   Franklin v. Pitts, 826 S.E.

2d 427, 431 (2019).

                                     146.

     Under the McDonnell Douglas Test, to establish a prima facie case,

the Plaintiff must show “(1) that [he] engaged in statutorily protected



                                     28
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activity, (2) that [he] suffered an adverse employment action, and (3)

that the adverse employment action is casually related to the protected

activity.” Cooper, 390 F.3d at 740.

1.   PLAINTIFF ENGAGED IN PROTECTED ACTIVITY:

                                   147.

     The Whistleblower Act makes illegal the retaliation against public

employees for disclosing any violation to a law, rule or regulation in the

State of Georgia. O.C.G.A § 45-1-4(a)(5).

                                   148.

     Moreover, the participation clause does not exclude activities

different than the ones initiated at an EEOC procedure.   On the contrary,

for the Whistleblower Act, “protected activity” is defined as the

disclosure of noncompliance to a supervisor or government agency.   Id.

                                   149.

     The Georgia Whistleblower Act also covers, under protected activity,

objections made against any activity, policy, or practice that the public

employer has a reasonable cause to believe that is in violation with a

law, rule, or regulation.   O.C.G.A. § 45-1-4(d)(2) and (3).

                                   150.

     For purposes to determine a similarly situated employee, Plaintiff

pleads that Plaintiff was similarly situated as: (a) the staff attorneys,

because Brown had established similar workload to Plaintiff or because the

purpose of Plaintiff’s employment was to train to work as an attorney; (b)

Robert Leone, a Caucasian third year law student, because Hunter indicated

to Plaintiff that his employment was equivalent to an internship; and, (c)

James Kolbo, a Caucasian male working as Paralegal 4 for the Council.

                                   151.



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       On June 11, Plaintiff went to his Supervisor’s Office to complain

about his co-workers.   Not having any assignments nor workload assigned,

Plaintiff had the sincere and reasonable believe that he was discriminated

because of his national origin.

                                    152.

       Every time Plaintiff asked why he could not have any assignments,

Brown, Allen, Maxwell, Turner and Hunter did not provide any rational

explanation.   Therefore, it was reasonable to infer that Plaintiff was

discriminated based on his national origin.

                                    153.

       During Plaintiff’s employment, Plaintiff opposed repeatedly, during

the ordinary course of business, his seclusion, segregation and lack of

workload with Brown, Williams, Hunter, Allen, Maxwell, Williams and Ash to

no avail.

  2. PLAINTIFF SUFFERED AN ADVERSE EMPLOYMENT ACTION:

                                    154.

       For retaliation, the Court of Appeals has held that the liberal

Burlington Standard should not be applied to the Georgia Whistleblower

Act.   For the court, retaliation shall amount to the level of discharge,

suspension or demotion of the public employee.    Franklin, 826, S.E. 2d at

553.

                                    155.

       In other words, the public employee must show that he has suffered a

serious and material change in the terms, conditions, or privileges of his

employment.    Walker v. Indian River Transp. Co., 741 Fed. Appx. 740, 749

(III)(B) (11th Cir. 2018).

                                    156.



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     The material change cannot be merely subjective, but it must be

accompanied by a tangible harm or some unusual circumstance to be

sufficient to prove adverse employment action.   Williams v. Great-West

Healthcare, 2007 U.S. Dist. LEXIS 102132 at 22(D)(2) (N.D. GA. 2007),

cited by Franklin at 437.

                                   157.

     On June 11, 2019, the removal of Plaintiff’s entire workload coupled

with a systematic seclusion and segregation from any activity amounted to

his constructive suspension.   Plaintiff had not workload, assignments,

projects or anything productive to perform for his employer.

                                   158.

     During the whole employment of Plaintiff, Plaintiff only performed

one assignment which it was delegated by Spiegel an attorney working at

Union county Office.   Plaintiff drove himself at his own expense to get

work and assignments from the Union county Office in an effort to justify

his employment.

3. THE ADVERSE EMPLOYMENT ACTION IS CASUALLY RELATED TO THE PROTECTED
   ACTIVITY:

                                   159.

     A Plaintiff may meet his burden by showing a short period of time

between the protected activity and the termination.   This would prove that

the two are not wholly unrelated. Shannon v. Bellsouth Telecoms. Inc., 292

F.3d 712, 717 (11th Cir. 2002).

                                   160.

     The language used in a termination letter, standing alone, may

support the causal link between the protected expression and the




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termination.    O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th Cir.

2008).

                                     161.

     A fair inference of the Memorandum dated on August 1, 2019 tells us

that, according to Brown, Plaintiff was discharged for not providing any

aid to staff attorneys.

                                     162.

     However, this very fact could be reasonably caused by Brown and the

staff attorneys themselves.    Reasonable minds could argue that Plaintiff’s

segregation, seclusion and discrimination resulted in Plaintiff’s lack of

performance necessary to justify his employment.

                                     163.

     Therefore, Brown cannot allege on one hand that Plaintiff did not

perform to his satisfaction, while on the other hand Brown kept Plaintiff

from having a fair opportunity to perform.     Plaintiff cannot draw any

logical inference to justify a business decision of such nature.

                                     164.

     Furthermore, the document does not address Plaintiff’s many requests

for work to Maxwell, Hunter, Allen and Brown himself which constitute a

persistent opposition to be secluded, segregated and discriminated.

                                     165.

     Reasonable minds could argue that Brown made the decision to keep

Plaintiff with no workload and keep him from working once Brown realized

that Plaintiff was not accepted by the staff attorneys.     Lack of

performance would give Brown a pretext to discharge Plaintiff without

raising suspicions.

                                   COUNT IV




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                RETALIATION FOR OPPOSING A CRIMINAL ACT IN
                VIOLATION OF THE GEORGIA WHISTLEBLOWER ACT

                                   166.

     This charge is against the Council for terminating Plaintiff’s

employment in retaliation for opposing a criminal act against himself.

                                   167.

     Paragraphs 1 through 165 are re-alleged as if set forth verbatim

herein.

                                   168.

     A person commits aggravated assault when unlawfully, using a “deadly

weapon or with any object, device, or instrument which, when used

offensively against a person, is likely to or actually does result in

serious bodily injury.”   O.C.G.A. § 16-5-21(a)(2).

                                   169.

     The Georgia Whistleblower Act precludes public employers from

retaliating against their employees for disclosing a violation of or

noncompliance with a law, rule, or regulation to either a supervisor or a

government agency; or, for objecting any activity that the public employee

has reasonable cause to believe that is in violation of or noncompliance

with a law, rule, or regulation.   O.C.G.A §.45-1-4(a)(5).

                                   170.

     The prohibition before mentioned includes the suspension or any

adverse employment action taken by the public employer against a public

employee in the terms or conditions of employment for disclosing a

violation of or noncompliance with a law, rule, or regulation.   O.C.G.A. §

45-1-4(d)(2) and (3).

                                   171.




                                   33
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     On July 9, 2019, Plaintiff alleges that Brown, maliciously,

willfully or with the intent to harm, committed one count of aggravated

assault and two counts of assault against Plaintiff.

                                   172.

     Aggravated assault was committed while Brown holding the dull knife

making movements consisting with the stabbing of a person.    Plaintiff had

the reasonable belief that Brown would either throw the dull knife at him

or lose his grip.

                                   173.

     One assault took place when Brown closed the distance between

himself and Plaintiff by storming tumultuously into Plaintiff’s Office.

                                   174.

     The second assault took place in Plaintiff’s Office.    Plaintiff

alleges that was placed in the state of apprehension twice when Brown was

moving his hands in the air at very close proximity.

                                   175.

     A fair inference indicates that, during all three attacks, Plaintiff

was in reasonable fear to be in imminent harm of serious bodily harm; or,

at the very least, of being stricken by Brown when Brown was moving his

hands angry and screaming out of the top of his lungs.

A. PRELIMINARY SHOWING FOR WHISTLEBLOWER CLAIMS:

                                   176.

     Plaintiffs must show the following: (1) the public employee was

employed by a public employer; (2) the public employee made a protected

disclosure or objection; (3) the public employee suffered and adverse

employment action; and, (4) there is some causal link between the

protected activity and the adverse employment action.    Murray-Obertein v.



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Ga. Govt. Transparency and Campaign Finance Comm., 344 Ga. App. 677, 680-

81 (2018).

                                    177.

       Plaintiff alleges the following: (1) he was employed by the Council

on May 16, 2019 and terminated on August 1, 2019; (2) on June 11, 2019,

Plaintiff engaged in protected activity when he complained about

discrimination, seclusion and segregation with Brown; (3) On August 1,

2019, Plaintiff employment was terminated; (4)reasonable minds could infer

that Brown retaliated against Plaintiff in fear of losing his employment,

being accused of committing a crime.

B.     MCDONNELL DOUGLAS TEST SHOWING:

                                    178.

       Courts in Georgia apply the McDonnell Douglas Test for claims

brought under the Georgia Whistleblower Act.      Franklin, 826 S.E. 2d at

431.

                                    179.

       Under the McDonnell Douglas Test, to establish a prima facie case,

the Plaintiff must show (1) that [he] engaged in statutorily protected

activity, (2) that [he] suffered an adverse employment action, and (3)

that the adverse employment action is casually related to the protected

activity.” Cooper, 390 F.3d at 740.

1.     PLAINTIFF ENGAGED IN PROTECTED ACTIVITY:

                                    180.

       The Georgia Whistleblower Act covers protected activity, in the form

of objections made against any activity, policy, or practice that the

public employer has a reasonable cause to believe that is in violation

with a law, rule, or regulation.   O.C.G.A. § 45-1-4(d)(2) and (3).



                                   35
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                                   181.

     On July 9, Plaintiff opposed Brown’s attack by retreating to his

Office when Brown grabbed a dull knife and started making movements

consisting with the stabbing of a person while using profanity.

                                   182.

     On July 9, Plaintiff opposed this conduct by making statements to

Ash and Williams relative to the efficiency of the Office and Brown’s

mental state.

                                   183.

     On July 9, Plaintiff opposed this conduct by telling Hunter about

the incident.   Plaintiff shared with Hunter his concerns about losing his

employment.

                                   184.

     On July 10, Plaintiff opposed Brown’s attack by telling Brown that

he wanted to report his conduct.   However, Plaintiff did not get

information regarding a contact in Human Resources until two days later.

At that point, Plaintiff needed to concentrate on taking the Georgia Bar.

                                   185.

     On July 12, Plaintiff opposed Brown’s conduct by telling Dawson

about the incident.   Plaintiff wanted to obtain advice regarding Brown’s

unreasonable violent behavior.   Turner was present during the

conversation.

                                   186.




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        On July 12, Plaintiff opposed Brown’s conduct by speaking with

Belback about his concerns regarding Brown’s mental state and level of

violence showed by Brown.

                                     187.

        On July 12, Plaintiff spoke with Allen regarding Brown’s conduct.



2.      PLAINTIFF SUFFERED AN ADVERSE EMPLOYMENT ACTION:

                                     188.

        For retaliation, the Court of Appeals has held that the liberal

Burlington Standard should not be applied to the Georgia Whistleblower

Act.    For the court, retaliation, under the Whistleblower Act, shall raise

to the level of discharge, suspension or demotion of the public employee

to constitute an adverse employment action.     Franklin, 826, S.E. 2d at

553.

                                     189.

        In other words, the public employee must show that he has suffered a

serious and material change in the terms, conditions, or privileges of his

employment.    Walker, 741 Fed. Appx. 740, at 749 (III)(B).

                                     190.

        The material change cannot be merely subjective, but it must be

accompanied by a tangible harm or some unusual circumstance to be

sufficient to prove adverse employment action.     Williams v. Great-West

Healthcare, 2007 U.S. Dist. LEXIS 102132 at 22(D)(2) (N.D. GA. 2007),

cited by Franklin at 437.

                                     191.

       On August 1, Plaintiff’s employment was terminated.




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3.   THE ADVERSE EMPLOYMENT ACTION IS CAUSALITY RELATED TO THE PROTECTED
     ACTIVITY:
                                   192.

     A Plaintiff may meet his burden by showing a short period of time

between the protected activity and the termination.     This would prove that

the two are not wholly unrelated. Shannon v. Bellsouth Telecoms. Inc., 292

F.3d 712, 717 (11th Cir. 2002).

                                     193.

     The language used in a termination letter, standing alone, may

support the causal link between the protected activities and the

termination.    O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th Cir.

2008).

                                     194.

      A fair inference of the Memorandum dated on August 1, 2019 tells us

that, according to Brown, Plaintiff was discharged because Plaintiff

disrespected Brown.     However, Plaintiff characterizes the incident as

aggravated assault against himself rather.

                                     195.

      Reasonable minds could argue that Brown made the decision to

discharge Plaintiff was an easy way to get rid of a liability.     Brown

could not afford to have someone speaking about his mental state in the

Office where he is the boss.

                                    COUNT V
                    RETALIATION IN VIOLATION OF FREEDOM OF
                    SPEECH UNDER THE GEORGIA CONSTITUTION

                                     196.

      This cause of action is brought against the Council, pursuant to GA.

CONST. art. I, for unlawfully abridging Plaintiff’s freedom of speech

about matters of public concern related to his employment.



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                                     197.

     Paragraphs 1 through 195 are re-alleged as if set forth verbatim

herein.

                                     198.

     “No law shall be passed to curtail or restrain the freedom of speech

or of the press.    Every person may speak, write, and publish sentiments on

all subjects but shall be responsible for the abuse of that liberty.”

GA. CONST. art. I, § I.

                                     199.

     The Council is an independent state agency duly represented by

Brown.    While the Council is entitled to terminate employment of at will

employees, the Council’s discretion is limited to acts of retaliation

against public employees for expressing matters of public concern.        Alves,

804 F.3d 1149, 1159.

                                     200.

     The commission of a crime and improper behavior by a public official

is a matter of public concern.

  A. RETALIATORY INTENT:

  1. “[T]he plaintiff must demonstrate that there is a genuine issue of

material fact as to whether his employer acted with … retaliatory intent

in his termination.” Mathis v. Leggett & Platt, 2008 WL 124512, 2 (11th

Cir. 2008) citing Hawkins v. Ceco Corp., 883, F.2d 977, 980-81 (11th Cir.

1989).    A plaintiff may establish a claim of unlawful retaliation by using

either direct or circumstantial evidence. Wright v. Southland Corp., 187

F.3d 1287, 1292-93 (11th Cir. 1999).

  1. DIRECT EVIDENCE OF RETALIATORY INTENT:

                                     201.



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     Direct Evidence is evidence that “reflects a discriminatory or

retaliatory attitude correlating to the discrimination or retaliation

complained of by the employee.” Van Voorhis v. Hillsborough County Bd. Of

County Comm’rs, 512 F.3d 1296, 1300 (11th Cir. 2004).

                                     202.

     The language used in a termination letter, standing alone, may

support the causal link between the protected activities and the

termination.    O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th Cir.

2008).

                                     203.

     The Memorandum hand delivered to Plaintiff on August 1, 2019,

clearly indicates that one of the reasons for Plaintiff’s termination was

that he walked out of Brown’s Office in an alleged disrespect.

                                     204.

     The Memorandum also states that Brown was angry during the incident.

A fair inference can be drawn as to Brown’s retaliatory animus by being

angry at the Plaintiff.

  2. CIRCUMSTANTIAL EVIDENCE OF RETALIATORY INTENT:

                                     205.

     Georgia is an at-will state in which an employer can terminate an

employee’s employment for good reason, no reason or even a lawful bad

reason. Therefore, why did Brown justify Plaintiff’s termination on a

letter, since Brown did not need any justification?

                                     206.

     Reasonable minds could argue that, the reasons proffered by Brown on

his termination letter were pretextual to cover up a contingency.

Plaintiff had become a liability for Brown’s employment because Plaintiff



                                    40
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was talking to other employees and because Plaintiff’s action on walking

out of his Office could be reasonably understood as a sign of weakness.

Brown needed to vindicate his authority in the Office by terminating

Plaintiff’s employment.

                                   207.

     A logical inference sustains that Plaintiff was a threat to Brown’s

employment that needed to be terminated as soon as possible.      This may

explain why Brown had to think so much about granting the leave or

terminating Plaintiff’s employment sooner and why Brown needed to justify

Plaintiff’s termination in a letter.

                                   208.

     Furthermore, Brown never disciplined Plaintiff because of his allege

disrespect.   Perhaps because it would have started an internal

investigation.   On the other hand, Plaintiff alleges that he walked out of

Brown’s Office not in disrespect but in fear for his well-being.

                                   209.

     Brown had a reason to protect his employment, if he were terminated,

Brown will lose his health insurance to pay for his health issues.

                                   210.

     Brown cannot afford to retire because his income would be

dramatically reduced.

                                   211.

     Therefore, reasonable minds could argue that Plaintiff’s termination

corresponds to a self-preservation motive rather than a business judgment

decision.

  B. PROTECTED SPEECH:

                                   212.



                                   41
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     A public employee’s speech may be protected if it is conveyed

expressly by words or by conduct. To be protected under the First

Amendment, messages conveyed by conduct must be understood with no

explanatory speech.    If the conduct at issue is so inherently expressive

it is protected under the First Amendment.     Allied Veterans of the World,

Inc. v. Seminole County, 2011 U.S. Dist. LEXIS 101003.

                                    213.

     It is the employee’s desire to raise issues of public concern what

triggers constitutional protection.      Boyce v. Andrew, 510 F.3d 1333, 1344

(11th Cir. 2007).

                                    214.

     It is reasonable to assume that Plaintiff’s conduct by walking out

of Brown’s Office is protected under the First Amendment because it does

not require further explanation.

                                    215.

     Based on the circumstances, reasonable minds could infer that

walking out of the Office of a man with a violent character like Brown

constitutes inherently expressive conduct.

                                    216.

     In fact, Brown seems to corroborate this interpretation in his

Memorandum of August 1, by considering this conduct a serious disrespect

that made him angry.

                                    217.

     Plaintiff pleads the testimony of Brown, Ash, Williams, Allen,

Turner and Dawson to corroborate that Plaintiff engaged in protected

activity by expressing concerns regarding Brown’s conduct on the July 9 th




                                    42
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  incident.     Said comments were made repeatedly to the Office’s employees,

  at the Office and during the ordinary course of business.

                                       218.

        Going after the person who has the ability to terminate one’s

  employment in at-will state requires building a solid case with evidence.

  For that reason, Plaintiff’s decision to wait until gathering all the

  information relative to his charges is reasonable.

                                       219.

        Therefore, the fact that Plaintiff did not pursue immediate legal

  action should not be inferred as a lack of desire to create a level of

  public concern, but as a prudent decision.

                                       220.

        If Brown was an ordinary man, Plaintiff would have filed a charge

  immediately, but in this case, Brown is a public government official with

  qualified immunity and connections who could terminate Plaintiff’s

  employment immediately.

                                       221.

        Thus, it is reasonable to consider that there was a disparate

  relation between Plaintiff and Brown that deterred Plaintiff from seeking

  immediate relief.

                                       222.

        It is also reasonable to consider the shock of being attack by a

  supervisor.    A reasonable person will take a few days to react and

  evaluate the different alternatives to obtain a legal remedy.

C. ANALYSIS TO DETERMINE WHETHER PUBLIC EMPLOYEE’S SPEECH IS PROTECTED UNDER
   THE FIRST AMENDMENT:

                                       223.




                                       43
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     The Supreme Court has outlined a two-step inquiry to determine

whether public employee’s speech is protected.     First, the employee must

have spoken as a citizen on a matter of public concern and if so, the

court must determine whether the public employer was justified in treating

the employee differently than the members of the general public. Alves v.

Bd. Of Regents of the Univ. Sys. of Ga., 804 F.3d 1149, 1162 (11th Cir.

2015).

  1. MATTER OF PUBLIC CONCERN:

                                     224.

     To meet this prong, the Plaintiff must clearly indicate that the

abridged speech is worthy of public concern.     The threshold for this prong

is very light since even pure speculative theory of corruption in

government may raise to the level of public concern. Stanley v. City of

Dalton, 219 F.3d 1280, 1289 (11th Cir. 2000).

                                     225.

     If the charging party meets the public concern prong, then the court

must determine whether the employee’s First Amendment interest promotes

efficiency of the public services.    For that matter the courts have

elaborated a three prong tests: (a) whether the speech at issue impedes

the government’s ability to perform its duties efficiently; (b) the

manner, time, and place of the speech; and (c) the context within which

the speech was made. Id. at 1289.

                                     226.

     Plaintiff alleges that, (a) Plaintiff’s speech did not interfere

with the normal operations of the Office, it was not made in a vulgar or

disrespectful matter nor created a negative environment; (b) the speech

was made in a manner, time and place appropriate and in a way that did not



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interfere with the Office’s functions, since Plaintiff was not

reprimanded; and, (c) the context in which the speech was made was

appropriate due to the circumstances.

                                     227.

       The commission of a crime or impermissible treatment of public

employees by the chief of a public defender’s office could be reasonably

understood as a matter of public concern in the community, because the

integrity of said officer reflects on the prestige of the public

defender’s council as an institution.

                                     228.

       On the other hand, reasonable minds could argue that Plaintiff had a

right to be treated as anyone else in the general public when speaking

regarding a matter of public concern.

  2. SUBSTANTIAL FACTOR IN TERMINATION:

                                     229.

       The charging party must show any inference of causation.    Time

proximity provides enough evidence for a reasonable jury to conclude that

protected speech was a substantial factor in the decision to terminate

him.   Beckwith, 58 F.3d at 1567.

                                     230.

       The language used in a termination letter, standing alone, may

support the causal link between the protected expression and the

termination.    O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th Cir.

2008).

                                     231.




                                    45
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     The Memorandum, dated August 1, 2019, clearly indicates that one of

the major contributors for the termination of Plaintiff is what Brown

considers Plaintiff’s disrespect by walking out of his Office.

                                      232.

     And, the other three reasons provided by Brown are illogical nor

satisfy the requirement of be based on neutral standards.

                                      233.

     In addition, Plaintiff is pleading a logical reason to infer that

the reasons provided by Brown are pretextual.      The termination was made

within 20 days of the incident and Brown has a self-preservation motive

for the Plaintiff’s termination.

                                      234.

     Reasonable minds could conclude that the termination was made in

fear that Plaintiff would file a criminal charge or a complaint with Human

Resources.

                                    COUNT VI
                 RETALIATION IN VIOLATION OF FREEDOM OF SPEECH
                          UNDER THE U.S. CONSTITUTION

                                      235.

     This cause of action is brought against the Council, pursuant to GA.

CONST. art. I, for unlawfully abridging Plaintiff’s freedom of speech

about matters of public concern related to his employment.

                                   236.

     Paragraphs 1 through 234 are re-alleged as if set forth verbatim

herein.

                                   237.

     “Congress shall make no law respecting an establishment of religion

or prohibiting the free exercise thereof; or abridging the freedom of



                                     46
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speech, or of the press; or the right of the people peaceably to assemble,

and to petition the government for a redress of grievances.”     U.S. Const.

amend. I.

                                  238.

     The Council is an independent state agency duly represented by

Brown.    While the Council is entitled to terminate employment of at will

employees, the Council’s discretion is limited to acts of retaliation

against public employees for expressing matters of public concern.        Alves,

804 F.3d 1149, 1159.

                                     239.

     The commission of a crime and improper behavior by a public official

is a matter of public concern.

  D. RETALIATORY INTENT:

  2. “[T]he plaintiff must demonstrate that there is a genuine issue of

material fact as to whether his employer acted with … retaliatory intent

in his termination.” Mathis v. Leggett & Platt, 2008 WL 124512, 2 (11th

Cir. 2008) citing Hawkins v. Ceco Corp., 883, F.2d 977, 980-81 (11th Cir.

1989).    A plaintiff may establish a claim of unlawful retaliation by using

either direct or circumstantial evidence. Wright v. Southland Corp., 187

F.3d 1287, 1292-93 (11th Cir. 1999).

  3. DIRECT EVIDENCE OF RETALIATORY INTENT:

                                     240.

     Direct Evidence is evidence that “reflects a discriminatory or

retaliatory attitude correlating to the discrimination or retaliation

complained of by the employee.” Van Voorhis v. Hillsborough County Bd. Of

County Comm’rs, 512 F.3d 1296, 1300 (11th Cir. 2004).

                                     241.



                                    47
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     The language used in a termination letter, standing alone, may

support the causal link between the protected activities and the

termination.    O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th Cir.

2008).

                                     242.

     The Memorandum hand delivered to Plaintiff on August 1, 2019,

clearly indicates that one of the reasons for Plaintiff’s termination was

that he walked out of Brown’s Office in an alleged disrespect.

                                     243.

     The Memorandum also states that Brown was angry during the incident.

A fair inference can be drawn as to Brown’s retaliatory animus by being

angry at the Plaintiff.

  4. CIRCUMSTANTIAL EVIDENCE OF RETALIATORY INTENT:

                                     244.

     Georgia is an at-will state in which an employer can terminate an

employee’s employment for good reason, no reason or even a lawful bad

reason. Therefore, why did Brown justify Plaintiff’s termination on a

letter, since Brown did not need any justification?

                                     245.

     Reasonable minds could argue that, the reasons proffered by Brown on

his termination letter were pretextual to cover up a contingency.

Plaintiff had become a liability for Brown’s employment because Plaintiff

was talking to other employees and because Plaintiff’s action on walking

out of his Office could be reasonably understood as a sign of weakness.

Brown needed to vindicate his authority in the Office by terminating

Plaintiff’s employment.

                                     246.



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     A logical inference sustains that Plaintiff was a threat to Brown’s

employment that needed to be terminated as soon as possible.      This may

explain why Brown had to think so much about granting the leave or

terminating Plaintiff’s employment sooner and why Brown needed to justify

Plaintiff’s termination in a letter.

                                   247.

     Furthermore, Brown never disciplined Plaintiff because of his allege

disrespect.   Perhaps because it would have started an internal

investigation.   On the other hand, Plaintiff alleges that he walked out of

Brown’s Office not in disrespect but in fear for his well-being.

                                   248.

     Brown had a reason to protect his employment, if he were terminated,

Brown will lose his health insurance to pay for his health issues.

                                   249.

     Brown cannot afford to retire because his income would be

dramatically reduced.

                                   250.

     Therefore, reasonable minds could argue that Plaintiff’s termination

corresponds to a self-preservation motive rather than a business judgment

decision.

  E. PROTECTED SPEECH:

                                   251.

     A public employee’s speech may be protected if it is conveyed

expressly by words or by conduct. To be protected under the First

Amendment, messages conveyed by conduct must be understood with no

explanatory speech.   If the conduct at issue is so inherently expressive




                                   49
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it is protected under the First Amendment.    Allied Veterans of the World,

Inc. v. Seminole County, 2011 U.S. Dist. LEXIS 101003.

                                   252.

     It is the employee’s desire to raise issues of public concern what

triggers constitutional protection.     Boyce v. Andrew, 510 F.3d 1333, 1344

(11th Cir. 2007).

                                   253.

     It is reasonable to assume that Plaintiff’s conduct by walking out

of Brown’s Office is protected under the First Amendment because it does

not require further explanation.

                                   254.

     Based on the circumstances, reasonable minds could infer that

walking out of the Office of a man with a violent character like Brown

constitutes inherently expressive conduct.

                                   255.

     In fact, Brown seems to corroborate this interpretation in his

Memorandum of August 1, by considering this conduct a serious disrespect

that made him angry.

                                   256.

     Plaintiff pleads the testimony of Brown, Ash, Williams, Allen,

Turner and Dawson to corroborate that Plaintiff engaged in protected

activity by expressing concerns regarding Brown’s conduct on the July 9 th

incident.   Said comments were made repeatedly to the Office’s employees,

at the Office and during the ordinary course of business.

                                   257.

     Going after the person who has the ability to terminate one’s

employment in at-will state requires building a solid case with evidence.



                                   50
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  For that reason, Plaintiff’s decision to wait until gathering all the

  information relative to his charges is reasonable.

                                     258.

        Therefore, the fact that Plaintiff did not pursue immediate legal

  action should not be inferred as a lack of desire to create a level of

  public concern, but as a prudent decision.

                                     259.

        If Brown was an ordinary man, Plaintiff would have filed a charge

  immediately, but in this case, Brown is a public government official with

  qualified immunity and connections who could terminate Plaintiff’s

  employment immediately.

                                     260.

        Thus, it is reasonable to consider that there was a disparate

  relation between Plaintiff and Brown that deterred Plaintiff from seeking

  immediate relief.

                                     261.

        It is also reasonable to consider the shock of being attack by a

  supervisor.   A reasonable person will take a few days to react and

  evaluate the different alternatives to obtain a legal remedy.

F. ANALYSIS TO DETERMINE WHETHER PUBLIC EMPLOYEE’S SPEECH IS PROTECTED UNDER
   THE FIRST AMENDMENT:

                                     262.

        The Supreme Court has outlined a two-step inquiry to determine

  whether public employee’s speech is protected.   First, the employee must

  have spoken as a citizen on a matter of public concern and if so, the

  court must determine whether the public employer was justified in treating

  the employee differently than the members of the general public. Alves v.




                                     51
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Bd. Of Regents of the Univ. Sys. of Ga., 804 F.3d 1149, 1162 (11th Cir.

2015).

  3. MATTER OF PUBLIC CONCERN:

                                     263.

     To meet this prong, the Plaintiff must clearly indicate that the

abridged speech is worthy of public concern.     The threshold for this prong

is very light since even pure speculative theory of corruption in

government may raise to the level of public concern. Stanley v. City of

Dalton, 219 F.3d 1280, 1289 (11th Cir. 2000).

                                     264.

     If the charging party meets the public concern prong, then the court

must determine whether the employee’s First Amendment interest promotes

efficiency of the public services.    For that matter the courts have

elaborated a three prong tests: (a) whether the speech at issue impedes

the government’s ability to perform its duties efficiently; (b) the

manner, time, and place of the speech; and (c) the context within which

the speech was made. Id. at 1289.

                                     265.

     Plaintiff alleges that, (a) Plaintiff’s speech did not interfere

with the normal operations of the Office, it was not made in a vulgar or

disrespectful matter nor created a negative environment; (b) the speech

was made in a manner, time and place appropriate and in a way that did not

interfere with the Office’s functions, since Plaintiff was not

reprimanded; and, (c) the context in which the speech was made was

appropriate due to the circumstances.

                                     266.




                                     52
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       The commission of a crime or impermissible treatment of public

employees by the chief of a public defender’s office could be reasonably

understood as a matter of public concern in the community, because the

integrity of said officer reflects on the prestige of the public

defender’s council as an institution.

                                     267.

       On the other hand, reasonable minds could argue that Plaintiff had a

right to be treated as anyone else in the general public when speaking

regarding a matter of public concern.

  4. SUBSTANTIAL FACTOR IN TERMINATION:

                                     268.

       The charging party must show any inference of causation.    Time

proximity provides enough evidence for a reasonable jury to conclude that

protected speech was a substantial factor in the decision to terminate

him.   Beckwith, 58 F.3d at 1567.

                                     269.

       The language used in a termination letter, standing alone, may

support the causal link between the protected expression and the

termination.    O’Connor v. Houston, 2008 U.S. Dist. Lexis 22779 (11th Cir.

2008).

                                     270.

       The Memorandum, dated August 1, 2019, clearly indicates that one of

the major contributors for the termination of Plaintiff is what Brown

considers Plaintiff’s disrespect by walking out of his Office.

                                     271.

       And, the other three reasons provided by Brown are illogical nor

satisfy the requirement of be based on neutral standards.



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                                   272.

     In addition, Plaintiff is pleading a logical reason to infer that

the reasons provided by Brown are pretextual.   The termination was made

within 20 days of the incident and Brown has a self-preservation motive

for the Plaintiff’s termination.

                                   273.

     Reasonable minds could conclude that the termination was made in

fear that Plaintiff would file a criminal charge or a complaint with Human

Resources.

                                 COUNT VII
                        CONSPIRACY TO DISCRIMINATE
                             AGAINST PLAINTIFF

                                   274.

     This cause of action is against Hunter, Maxwell, Turner, Ash and

Allen for invidiously conspiring against Plaintiff’s due to his national

origin and/or race.

                                   275.

     Paragraphs 1 through 273 are re-alleged as if set forth verbatim

herein.

                                   276.

     To establish a claim under 42 U.S.C. § 1985(3), plaintiffs must

allege and prove: (a) a conspiracy; (b) for the purpose of depriving any

person the equal protection of the laws, or equal privileges and

immunities under laws; (c) an act in furtherance of the conspiracy; and,

(d) injury to the person’s property, rights or privileges as citizen of

the United States.

                                   277.




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        Plaintiff alleges the following: (a) Hunter, Maxwell, Turner and

Allen, invidiously conspired against Plaintiff for reasons of his national

origin and/or race, by removing Plaintiff’s workload and keeping Plaintiff

from performing; (b) for the purpose of causing his termination from

employment and/or enjoying a work environment free of discrimination; (c)

Hunter, Maxwell, Turner, Ash and Allen, systematically secluded,

segregated and kept Plaintiff from performing any activity during all his

employment with the Council; and, (d) as a result of this actions,

Plaintiff’s employment was subsequently terminated by Brown on August 1,

2019.

                                  COUNT VIII
                                    ASSAULT

                                     278.

        This cause of action is against Brown in his official and individual

capacities for committing assault against Plaintiff on July 9, 2019.

                                     279.

        Paragraphs 1 through 277 are re-alleged as if set forth verbatim

herein.

                                     280.

        Brown maliciously, willfully or with the intent to harm Plaintiff,

caused Plaintiff reasonable fear of imminent and harmful contact.

                                     281.

        As a result of Brown’s assault, Plaintiff suffered physical,

mental/emotional pain and suffering.

                                     282.

        The injuries sustained by Plaintiff were the direct result of

Brown’s assault.




                                    55
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                                   283.

     Plaintiff’s injuries are the proximate and foreseeable result of

Brown’s assault on Plaintiff.   Plaintiff has suffered severe mental and

emotional pain and suffering, loss of enjoyment of life, lost wages, among

other damages.

                                  COUNT IX
                    INTENTIONAL INFLICTION OF EMOTIONAL
                          DISTRESS UPON PLAINTIFF

                                   284.

     This cause of action is against Brown in his individual and official

capacities for intentional infliction of emotional distress upon

Plaintiff.

                                   285.

     Paragraphs 1 through 283 are re-alleged as if set forth verbatim

herein.

                                   286.

     On July 9th, 2019, Brown maliciously, willfully and with the intent

to harm Plaintiff, placed Plaintiff in reasonable state of fear.

                                   287.

     Brown maliciously, willfully and with the intent to harm Plaintiff,

threatened Plaintiff’s physical integrity as well as his employment to

keep Plaintiff from disclosing his actions during the altercation and/or

incident of July 9th, 2019.

                                   288.

     Brown threats, acts, gestures and conduct, during the July 9th

altercation and/or incident and subsequently, were extreme and outrageous

as they went beyond all bounds of decency in a civilized community.

                                   289.



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     As a result of Brown’s acts of threats to terminate Plaintiff’s

employment, aggravated assault and two counts of simple assault, Plaintiff

suffered severe emotional distress, emotional pain and suffering, loss of

enjoyment of life, lost wages, and other damages.

                                   290.

     Plaintiff’s severe emotional distress is the direct results of

Brown’s violent acts, words, and gestures.

                                   291.

     Plaintiff’s injuries are the proximate and foreseeable result of

Brown’s words, acts and gestures on Plaintiff.   Plaintiff has suffered

severe mental and emotional pain and suffering, loss of enjoyment of life,

lost wages, among other damages.

                                  COUNT X
                      PUNITIVE DAMAGES AGAINST BROWN

                                   292.

     This cause of action is against Defendant Brown.

                                   293.

     Paragraphs 1 through 291 are re-alleged as if set forth verbatim

herein.

                                   294.

     Pursuant to O.C.G.A. § 51-12-5.1(b), acts of willful misconduct

constitute an aggravated circumstance which authorizes the imposition of

punitive damages against Brown.

                                   295.

     Brown’s extreme and outrageous conduct in the form of aggravated

assault, simple assault and intentional infliction of emotional distress

upon Plaintiff was malicious, willful and with the intent to harm him.




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                                 COUNT XI
                 PUNITIVE DAMAGES AGAINST HUNTER, ALLEN,
                         MAXWELL, TURNER AND ASH

                                     296.

     This cause of action is under 42 U.S.C. § 1983, against Brown,

Hunter, Maxwell, Turner, Allen and Ash for conspiring to violate

Plaintiff’s federal rights maliciously or with reckless disregard of same.

                                     297.

     Paragraphs 1 through 295 are re-alleged as if set forth verbatim

herein.

                                     298.

     Pursuant to 42 U.S.C.S § 1981a(b)(1), plaintiffs may recover

punitive damages against defendants upon demonstrating that defendants

engaged in malicious or reckless indifference to federally protected

rights of an aggrieved individual.

                                     299.

     Defendants Brown, Hunter, Maxwell, Turner, Allen and Ash conspired

maliciously or with reckless disregard of Plaintiff’s federally protected

rights by secluding him, refusing to provide any assignments and/or

keeping him from performing any activity to force his termination from

employment.

                                     300.

     Defendant’s damages are the direct result of Brown, Hunter, Maxwell,

Turner, Allen and Ash actions.

                                     301.

     Plaintiff’s injuries are the proximate and foreseeable result of

Defendants Brown, Hunter, Maxwell, Turner, Allen and Ash’s actions.




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Plaintiff has suffered severe mental and emotional pain and suffering,

loss of enjoyment of life, lost wages, among other damages.

PRAYER FOR RELIEF:

     WHEREFORE, Plaintiff respectfully request the following: (a) his

reinstatement to the same position Plaintiff held before the retaliation

or to an equivalent position; (b) reinstatement of full fringe benefits

and seniority rights; (c) compensation for lost wages, benefits, and other

remuneration; (d) any compensatory damages allowable at law; and, (e) all

damages, including, but not limited to, all general damages, special

economic, punitive and other allowable damages, in accordance with the

enlightened conscience of an impartial jury, and (f) reasonable attorney’s

fees, court cost and expenses.

Jury Trial:

     Plaintiff respectfully request this Court to grant a jury by trial

of twelve (12) members of all counts in the above-styled cause of action.


     Respectfully submitted this 3rd day of December 2019.




                                   ____________________
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                                   Cumming, Georgia 30040
                                   470.281.0341
                                   jabeluna@gmail.com




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